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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION

BERNARD MILFORD BELL, JR.                                              PETITIONER

v.                                             CRIMINAL NO. 1:12-cr-52-LG-RHW
                                                      CIVIL NO. 1:16-cv-219-LG

UNITED STATES OF AMERICA                                               RESPONDENT

 ORDER DENYING MOTION MADE PURSUANT TO 28 U.S.C. § 2255 AND
    DENYING AS MOOT MOTION FOR VOLUNTARY DISMISSAL

        BEFORE THE COURT is the [636] Motion to Vacate, Set Aside, or Correct a

Federal Sentence Pursuant to 28 U.S.C. § 2255 filed by Defendant Bernard Milford

Bell, Jr. Bell was sentenced to 160 months and three years supervised release for

conspiracy to possess with intent to distribute cocaine. In his § 2255 Motion, Bell

challenges the constitutionality of the United States Sentencing Guideline §

4B1.2(a)(2) and further argues that his previous Mississippi state court conviction

for aggravated assault should not be considered a “crime of violence” under §

4B1.2(a). Having reviewed the applicable law, the Court finds that Bell’s Motion

should be denied. Bell’s Motion for Voluntary Dismissal [648] will be denied as

moot.

        Section 2255 provides four grounds for relief: (1) “that the sentence was

imposed in violation of the Constitution or laws of the United States;” (2) “that the

court was without jurisdiction to impose such sentence;” (3) “that the sentence was

in excess of the maximum authorized by law;” and (4) that the sentence is otherwise

“subject to collateral attack.” 28 U.S.C. § 2225(a). Bell contends that: (1) the

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residual clause in § 4B1.2(a)(2) is unconstitutionally vague; and (2) that his prior

Mississippi state court conviction for aggravated assault is not a “crime of violence”

under § 4B1.2(a) because (a) aggravated assault does not meet the physical force

requirement of § 4B1.2(a)(1); and (b) aggravated assault is not an enumerated crime

under § 4B1.2(a)(2) because it is enumerated in the Commentary to § 4B1.2, but not

the body of § 4B1.2(a)(2). The Court discusses each contention in turn below.

(1) “Unconstitutionally Vague”

      In Johnson v. United States, 135 S. Ct. 2551 (2015), the United States

Supreme Court held that the residual clause of the Armed Career Criminal Act

(ACCA), 18 U.S.C. § 924(e)(2)(B), was unconstitutionally vague because “the

indeterminacy of the wide-ranging inquiry required by the residual clause both

denies fair notice to defendants and invites arbitrary enforcement by judges.” Id. at

2557. The Johnson Court left open the question, however, of whether the identically

worded residual clause contained in Sentencing Guideline § 4B1.2(a)(2) –

challenged here by Bell – was constitutional.

      On March 6, 2017, the Court answered that question in Beckles v. United

States, 137 S. Ct. 886 (2017). Specifically the Court found that “[u]nlike the ACCA,

. . . the advisory guidelines do not fix the permissible range of sentences.” Id. at 892.

“To the contrary, they merely guide the exercise of a court’s discretion in choosing

an appropriate sentence within the statutory range.” Id. “Accordingly, the

Guidelines are not subject to a vagueness challenge under the Due Process Clause.



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The residual clause in § 4B1.2(a)(2) therefore is not void for vagueness.” Id. Thus,

pursuant to Beckles, the Court finds that Bell is not entitled to 2255 relief based on

the challenge that § 4B1.2(a)(2) is unconstitutionally vague. See, e.g., United States

v. Garza, No. 2:11-CR-117-1, 2017 WL 932933, at *2 (S.D. Tex. Mar. 8, 2017).

(2) “Crime of Violence”

      Aggravated assault in Mississippi meets the physical force requirement to

qualify as a “crime of violence” under § 4B1.2(a)(1). See, e.g., Hollins v. United

States, No. 2:11-CR-143-MPM-JMV, 2016 WL 6769026, at *3 (N.D. Miss. Nov. 15,

2016); Beckworth v. United States, No. 4:12CR88, 2016 WL 4203510, at *3 (N.D.

Miss. Aug. 9, 2016). Therefore, Bell’s argument that aggravated assault does not

meet the physical force requirement is without merit.

      Furthermore, Bell again relies on Johnson in arguing that aggravated

assault is not a “crime of violence” under § 4B1.2(a) because it is an enumerated of

offense under the Commentary to § 4B1.2, but not in the body of § 4B1.2(a)(2).

Beckles is dispositive of this issue, as well. Because Beckles held that the residual

clause in § 4B1.2(a)(2) is not void for vagueness, “[t]he residual clause therefore

provides a textual hook for the Guideline commentary’s list of enumerated offenses,

making the commentary consistent with and an interpretation or explanation of §

4B1.2 text.” United States v. Garces, No. 16-40699, 2017 WL 1382069, at *1 (5th

Cir. Apr. 18, 2017). Thus, Bell’s argument in this respect is likewise without merit.

      IT IS THEREFORE ORDERED AND ADJUDGED that Petitioner



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Bernard Milford Bell, Jr.’s [636] Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence is DENIED.

      IT IS FURTHER ORDERED AND ADJUDGED that Petitioner Bernard

Milford Bell, Jr.’s [648] Motion for Voluntary Dismissal is DENIED as moot.

      SO ORDERED AND ADJUDGED this the 29th day of June, 2017.


                                             s/   Louis Guirola, Jr.
                                             LOUIS GUIROLA, JR.
                                             CHIEF U.S. DISTRICT JUDGE




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